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                        UNITED STATES DISTRICT COURT                           ("//(#$/  "/
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                          WESTERN DISTRICT OF VIRGINIA                              !*&-/ "/

                                      LYNCHBURG DIVISION
  ZACHARY GRADY, et al.,

                                     Plaintiff,
                                                     CASE NO. 6:23-cv-00001
                        v.

  DANIEL R. ROTHWELL, et al.,

                                    Defendants.
                                                     ORDER



       This matter is before the Court on Defendants’ motion to dismiss, Dkt. 35. For the reasons

discussed in the accompanying opinion, the Court grants this motion.



       The Clerk of the Court is directed to send this Order to the parties.



              4th day of April, 2023.
Entered this _____
